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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 TEXAS STATE LULAC;
 VOTO LATINO,
                Plaintiffs,
      v.

BRUCE ELFANT, in his official capacity as the
Travis County Tax Assessor-Collector;
JACQUELYN CALLANEN, in her official
capacity as the Bexar County Elections               Case No. 1:21-cv-00546-LY
Administrator; ISABEL LONGORIA, in her
official capacity as the Harris County Elections
Administrator; YVONNE RAMÓN, in her official
capacity as the Hidalgo County Elections
Administrator; MICHAEL SCARPELLO, in his
official capacity as the Dallas County Elections
Administrator; LISA WISE, in her official capacity
as the El Paso County Elections Administrator,

                      Defendants,
 and

 KEN PAXTON, in his official capacity as
 Attorney General of Texas; LUPE TORRES, in
 their official capacity as Medina County Election
 Administrator; TERRIE PENDLEY, in her official
 capacity as the Real County Tax-Assessor
 Collector,

                      Intervenor-Defendants.




       PLAINTIFFS’ RESPONSE TO DEFENDANT-INTERVENOR KEN PAXTON’S
                      MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION
       Senate Bill 1111 (“SB 1111”) enacts three major changes to the Texas Election Code that

make it harder for qualified Texas voters to register to vote where they live. Plaintiffs’ motion for

summary judgment set out why these suppressive provisions run afoul of numerous constitutional

guarantees, including the First Amendment’s promise of the right to free speech and association;

the First and Fourteenth Amendment’s protection of the right to vote; and the Twenty-Sixth

Amendment’s guarantee that voting rights will not be denied or abridged on account of age. See

Pls.’ Mot. for Summ. J. and Mem. of Law in Supp., ECF No. 140 (“Pls.’ MSJ”).

       Defendant-Intervenor Ken Paxton’s competing motion for summary judgment has precious

little to say about the constitutionality of the suppressive provisions at issue. See Def.-Intervenor

Ken Paxton’s Mot. for Summ. J., ECF No. 138 (“State’s MSJ”). 1 Instead, the State primarily

argues that Plaintiffs Texas State LULAC (“LULAC”) and Voto Latino lack standing to challenge

SB 1111. That is wrong. The State’s motion ignores undisputed evidence that Plaintiffs have been

required to divert resources from other programming to contend with SB 1111’s suppressive

effects in Texas and, also, that each organization has been chilled in its communication with

members and potential registrants. Those harms inflicted by SB 1111 are more than sufficient for

Plaintiffs to establish organizational standing. LULAC also independently has associational

standing because all of its members have been harmed—SB 1111 chills LULAC’s ability to speak

to, advise, or even assist its members with voter registration, violating the members’ rights to hear

and receive this information.




1
 Two county officials who also intervened in this case as defendants join the State’s motion, but
do not offer any separate arguments in support of it. See generally Intervenor-Defs. Torres and
Pendley’s Notice of Joinder, ECF No. 139.

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       On the merits, the State presents only thin arguments in support of the law, none of which

can withstand scrutiny. Section 1.015(b) of the Texas Election Code bars would-be voters from

“establish[ing] residence” in a Texas county “for the purpose of influencing the outcome of a

certain election.” Tex. Elec. Code § 1.015(b) (“Residence Restriction”). It therefore

disenfranchises voters who move within Texas with the intent to establish residence if they do so

to engage in constitutionally-protected activity, like registering to vote, running for office, or

volunteering on a campaign. The State’s only defense of the Residence Restriction is to say that it

applies solely to individuals trying to fraudulently register where they do not actually live. That

badly misreads the relevant statutory text and, unsurprisingly, nearly every County Defendant

made clear that they understand the law to apply even to individuals seeking to establish a bona

fide residence in a Texas county. The State may not jerry-rig an implausible and post-hoc

interpretation to remedy the Residence Restriction’s facial unconstitutionality. Such blatant

misreading of the statutory text does nothing to remedy the chilled speech suffered by those who

fall, or may fall, within the law’s true ambit.

       The second provision at issue, Texas Election Code § 1.015(f) (“Temporary Relocation

Provision”), provides that a person “may not designate a previous residence as a home and fixed

place of habitation unless the person inhabits the place at the time of designation and intends to

remain.” Id. § 1.015(f). In other words, Texans may not register at an address they do not

“inhabit[]” and “intend[] to remain” at “at the time” they register. That bars Texans temporarily

away from a family residence for school or work from registering at their home because do not

“inhabit” it when they register. And because existing Texas law bars would-be voters from

registering at an address they are at only temporarily, such as a dormitory or short-term work detail,

many are left without any appropriate address for registration. The State’s sole defense, again, is



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to misread the plain text of the statute and insist that voters may also register wherever they live.

But that ignores that many registrants now cannot register at what they consider their true home—

because they do not presently inhabit it and intend to remain at it—or at the temporary quarters

they currently occupy. The State’s bare and unsupported insistence to the contrary offers cold

comfort to voters who must navigate this contradictory legal thicket. And it again offers no remedy

to organizations like Plaintiffs, who are chilled in their ability to advise potential registrants on

how to register without violating Texas law.

          Finally, SB 1111 imposes an arbitrary and burdensome process on how some voters update

their residential address. SB 1111 §§ 2-5 (“PO Box Provision”). The State insists this burden is

justified by its need to ensure people vote where they live. But even if this were a real issue in

Texas (and it is not) the State fails to explain why that interest supports requiring only some voters,

but not others, to supply proof of residence when providing similar residential information to

registrars. No such interest exists. Existing Texas law already barred people from registering at

non-residential addresses and the PO Box Provision burdens voters making good faith efforts to

correct their registrations but does nothing to impede any hypothetical bad actor trying to register

fraudulently.

          Because the State has failed to show through undisputed material that Plaintiffs lack

standing, or that any of the suppressive provisions at issue are constitutional, its motion must be

denied.




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                                          ARGUMENT

I.     Plaintiffs have standing to assert claims on their behalf, and on behalf of the voters
       they represent.

       A.      Plaintiffs have Article III standing.

       Plaintiffs LULAC and Voto Latino have Article III standing because SB 1111 injures them

directly. SB 1111 forces Plaintiffs to divert resources from their usual activities to attempt to

ameliorate the statute’s harm to their respective missions. See LULAC Tr. 72:11-73:5 (App. 113-

14); Voto Latino Tr. 90:12-17 (App. 098); id. at 106:22-107:19 (App. 099-100); Pls.’ MSJ at 33-

34. The State ignores this evidence of the Plaintiffs’ diverted resources altogether. Instead, it

contends that LULAC “disclaimed any assertion of organizational standing” in its Rule 30(b)(6)

deposition. Not so. Plaintiffs alleged LULAC’s organizational standing in the complaint, see

Compl. ¶ 20; see also Pls.’ MSJ at 31-34, and LULAC’s 30(b)(6) deponent repeatedly testified

that SB 1111 injured the organization directly. LULAC Tr. 31:14-32:4 (App. 106-07) (discussing

chilling effect on LULAC’s voter registration efforts); id. at 72:11-73:5 (App. 113-14) (discussing

diversion of resources injury). As to Voto Latino, the State raises no argument at all that the

organization lacks standing due to its diversion of resources. See State’s MSJ at 7-8.

       The State also challenges LULAC’s assertion of an organizational injury from the chilling

effect that SB 1111 has on its voter registration efforts. See State’s MSJ at 7; but see Pls.’ MSJ at

31-32. Although the State admits that this “chilling, if established factually, could satisfy

organizational standing,” State’s MSJ at 7, it claims the injury has not been established here

because “LULAC did not sue any of the prosecutors in Texas who could have actually prosecuted

them” and “[t]here is no factual allegation that any of the county-level elections administrators are

intent on prosecuting LULAC.” Id. But the State’s argument misses a crucial factual detail: The

County Defendants directly chill LULAC’s protected activity because they process voter


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registration applications and are required to notify law enforcement if they become aware of

unlawful voter registration. See Pls.’ MSJ at 38 (citing Eldred Tr. 196:1-6; Tex. Elec. Code §

15.028). The chilling injury is traceable to this conduct by the County Defendants, and LULAC

need not separately sue local prosecutors to establish Article III standing. See Susan B. Anthony

List v. Driehaus, 573 U.S. 149, 153, 159-61 (2014) (finding plaintiff had standing to bring First

Amendment claim against Ohio Election Commission over Ohio statute prohibiting “false

statements” during political campaigns due to chilling effect of threat of criminal prosecution,

where Commission was obligated to “refer” violations “to the relevant county prosecutor” and no

prosecutors were named as defendants). 2

       The State’s contention that LULAC lacks associational standing because it has not

identified any specific injured members is also misguided. State’s MSJ at 8. The “requirement of

naming the affected members” is “dispensed with . . . where all the members of the organization

are affected by the challenged activity.” Summers v. Earth Island Inst., 555 U.S. 488, 498-99

(2009); see also NAACP v. Alabama, 357 U.S. 449, 459 (1958) (all organization members affected

by release of membership lists). Here, all LULAC members in Texas are harmed by SB 1111,

which chills the ability of the organization to speak with its members about various aspects of

voter registration. See LULAC Tr. 28:19-30:13 (App. 103-05); id at 31:14-32:4 (App. 106-07).

The Supreme Court has explained that it is “well established that the Constitution protects the right

to receive information and ideas.” Kleindienst v. Mandel, 408 U.S. 753, 762–63 (1972) (collecting

cases and explaining history of this right); see also Bd. of Educ., Island Trees Union Free Sch.

Dist. No. 26 v. Pico, 457 U.S. 853, 867 (1982) (similar). LULAC’s members participate in



2
  Voto Latino also has organizational standing because of the chill SB 1111 imposes upon it. See,
e.g., Voto Latino Tr. 51:3-24 (App. 089); id. at 70:3-7 (App. 095); id. at 106:22-107:19 (App. 099-
100). The State’s motion raises no argument to the contrary.
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“activities such as voter registration, voter education, and voter turnout efforts,” and receive

messages from LULAC encouraging and instructing members on how to engage in these activities.

Compl. ¶ 18. SB 1111 therefore chills all LULAC members from conducting activities that are

central to the mission of the group that they belong to, and from receiving information and ideas

that may violate SB 1111’s sweeping, vague restrictions. 3

        Members aside, both LULAC and Voto Latino satisfy the requirements for third-party

standing to bring these claims on behalf of Latinos who will be affected by SB 1111 when they

register to vote or move to a new residence, especially those under the age of 18. A litigant has

third-party standing to sue on behalf of another individual if: “(1) the litigant has suffered an injury-

in-fact giving the litigant a sufficiently concrete interest in the outcome of the issue; (2) the litigant

has a close relationship with the third party on whose behalf the right is asserted; and (3) there is

a genuine obstacle to the third-party’s ability to protect his own interests.” Guild v. Securus Techs.

Inc., No. 1:14-CV-366-LY, 2015 WL 10818584, at *7 (W.D. Tex. Feb. 4, 2015) (citing Powers v.

Ohio, 499 U.S. 400, 411 (1991)). For the reasons already discussed, both LULAC and Voto Latino

have suffered injuries in fact that give them a concrete interest in the outcome of the issue.

        Both also have “a close relationship to the third part[ies], such that the parties’ interests are

aligned.” Alamo Forensic Servs., LLC v. Bexar Cnty., 861 Fed. App’x 564, 569 (5th Cir. 2021).

Each organization, for instance, is dedicated to protecting the voting rights of Latinos within and

outside the state, including students, young people, and other prospective voters who are not yet

eligible to vote in Texas. The President of Voto Latino testified that SB 1111 is “targeted at young




3
 Beyond these harms to all LULAC members, SB 1111 also acutely harms discrete groups.
LULAC’s 30(b)(6) deponent testified that the organization has more than 500 youth members, all
of whom will be injured by SB 1111 when they become eligible to register to vote. LULAC Tr.
31:5-13 (App. 106).

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voters as [a] whole, but in particular young Latinos,” and that Voto Latino is “doing [its] darndest

trying to explain things” to the “Latino youth” in particular. See Voto Latino Tr. at 160:5-163:4

(Suppl. App. 007-10); see also id. at 26:8-17 (App. 086); id. at 80:8-18 (Suppl. App. 006); id. at

169:16-25 (Suppl. App. 011). LULAC’s President likewise testified to the significant funds the

organization plans to spend “to deal with the issues and the residency requirements and advising

[Latino] students . . . in the state of Texas” due to SB 1111. LULAC Tr. 28:19-30:13 (App. 103-

05); see also id. at 14:14-23 (App. 102); id. at 31:2-32:9 (App. 106-07) (describing LULAC’s work

with its younger members and collegiate counsels). Both organizations therefore have a close

relationship with Latino voters and youth who are (or will be) harmed by SB 1111. See, e.g.,

Exodus Refugee Immigr., Inc. v. Pence, 165 F. Supp. 3d 718, 732 (S.D. Ind. 2016) (finding that

organization “certainly ha[d] a close relationship” with refugee population it served because “[i]ts

entire purpose and mission [was] to resettle refugees escaping dire circumstances”), aff’d, 838

F.3d 902 (7th Cir. 2016); Pa. Psychiatric Soc’y v. Green Spring Health Servs., Inc., 280 F.3d 278,

290 (3d Cir. 2002) (finding third-party standing for psychiatric organization bringing claims on

behalf of individuals receiving mental health services).

       Finally, there are genuine obstacles for many of these voters, particularly younger Texans

and other prospective registrants who LULAC and Voto Latino serve, in vindicating their voting

rights independently through litigation. Courts have held that it is “rather obvious” that minors are

hindered in their ability to protect their own interests, so as to warrant third parties suing on their

behalf. Payne-Barahona v. Gonzales, 474 F.3d 1, 2 (1st Cir. 2007); Hutchins by Owens v. District

of Columbia, 188 F.3d 531 (D.C. Cir. 1999). And voters who have recently moved or plan to move

may not be aware of the vague and unlawful restrictions in SB 1111 until they attempt to register

to vote or update their registration address—at which point it may be too late to vindicate their



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constitutional rights in time to vote. Both Plaintiffs therefore meet the standard for asserting claims

on behalf of these Texans.

        B.      Plaintiffs have statutory standing.

        The State disregards binding precedent in arguing that Plaintiffs lack standing to bring

claims under 42 U.S.C. § 1983 because, as “third parties,” they do not possess a constitutional

right to vote. See State’s MSJ at 9. That is not the law. The statutory standing inquiry asks courts

“to determine, using traditional tools of statutory interpretation, whether a legislatively conferred

cause of action encompasses a particular plaintiff’s claim.” Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 127 (2014). This test “forecloses suit only when a plaintiff’s

interests are so marginally related to or inconsistent with the purposes implicit in the statute that it

cannot reasonably be assumed that Congress authorized that plaintiff to sue.” Id. at 130 (internal

quotations omitted). And “the [Supreme] Court’s precedents show that the zone of interests

analysis under § 1983 is limited to ascertaining whether the substantive constitutional or statutory

provision confers rights intended by the legislature to be enforceable under the remedial statute.”

Church of Scientology Flag Serv. Org., Inc. v. City of Clearwater, 2 F.3d 1514, 1526 (11th Cir.

1993) (citing Holmes v. Sec. Inv. Prot. Corp., 503 U.S. 258 (1992) (Scalia, J., concurring)).

        The deprivation of rights alleged by LULAC and Voto Latino are those guaranteed by the

First, Fourteenth, and Twenty-Sixth Amendments to the U.S. Constitution, which are self-

evidently within the zone of interests encompassed by § 1983, which protects against “deprivations

of any rights . . . secured by the Constitution.” 42 U.S.C. § 1983; see also Jackson v. Sargent, 394

F. Supp. 162, 167-68 (D. Mass. 1975) (“[I]t seems evident that, when state action is alleged, the

zone of interests protected by this statute is coextensive with the zone of interests protected by the

Constitutional right allegedly violated.”), aff’d sub nom. Jackson v. Dukakis, 526 F.2d 64 (1st Cir.

1975). Courts have therefore repeatedly held that organizational plaintiffs can assert § 1983 claims
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in their own right, because an organization’s direct injury vis-à-vis its frustration of mission and

diversion of resources due to an unconstitutional law is not a third-party claim. See, e.g., Lewis v.

Hughs, 475 F. Supp. 3d 597, 613 & *n.2 (W.D. Tex. 2020) (rejecting argument to the contrary

from the Texas Secretary of State), rev’d on other grounds sub nom. Lewis v. Scott, 28 F.4th 659

(5th Cir. 2022) (reversing denial of motion to dismiss on sovereign immunity grounds); Ga. Coal.

for People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1258 (N.D. Ga. 2018); Inclusive Cmtys.

Project, Inc. v. Tex. Dep’t of Hous. & Cmty. Affs., 749 F. Supp. 2d 486, 496 (N.D. Tex. 2010).

Even if it were, Plaintiffs have third-party standing to bring such a claim for the reasons discussed

above. See supra 6-8. And because Plaintiffs assert their own causes of action under § 1983, courts

may not—as the State suggests—dismiss those claims for “prudential” reasons. See Excell

Willowbrook, L.L.C. v. JP Morgan Chase Bank, Nat. Ass’n, 758 F.3d 592, 603 n.34 (5th Cir. 2014)

(“A court cannot limit a cause of action merely because ‘prudence’ dictates.” (quoting Lexmark,

572 U.S. 118 at 128)) (cleaned up).

       The same is true for associational standing. The Fifth Circuit has recognized that

organizational plaintiffs with associational standing may assert § 1983 claims on behalf of their

members. See Ass’n of Am. Physicians & Surgeons v. Tex. Med. Bd., 627 F.3d 547, 551 (5th Cir.

2010) (nonprofit had associational standing to assert § 1983 claims on members’ behalf); Church

of Scientology of Cal. v. Cazares, 638 F.2d 1272, 1278–79 (5th Cir. 1972) (church had

associational standing to assert § 1983 claims on members’ behalf). Plaintiffs, thus, have properly

asserted claims under § 1983 on their own behalf and on behalf of the individuals they serve.

II.    The Residence Restriction violates the First Amendment.

       The State asserts that it is entitled to summary judgment on Plaintiffs’ First Amendment

claim based on a post hoc and nonsensical rewriting of the Residence Restriction. The State

disputes Plaintiffs’ contention that the Residence Restriction regulates the reasons a person may
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establish residence in Texas, and insists the statute merely prohibits a person from establishing

residence at an “impossible address”—i.e., a non-residential address where the person does not

live. State’s MSJ at 10-11. Even if it were not a made-for-litigation interpretation, the State’s

position is directly contrary to the plain language of the statute and the understanding of county

elections administrators responsible for enforcing it.

       The Residence Restriction plainly regulates a person’s motivation for establishing

residence in Texas. That much is clear even when one reads it “in context” with the definition of

“residence” in subpart (a) as the State insists. See State’s MSJ at 10. The Residence Restriction

provides that a person “may not establish residence for the purpose of influencing the outcome of

a certain election,” Tex. Elec. Code § 1.015(b) (emphasis added), and subpart (a) provides that

“residence” means “domicile, that is, one’s home and fixed place of habitation to which one

intends to return after any temporary absence.” Id. § 1.105(a). Reading subparts (a) and (b) in

combination only confirms Plaintiffs’ interpretation: “A person may not establish domicile—that

is, one’s home and fixed place of habitation to which one intends to return after any temporary

absence—for the purpose of influencing the outcome of a certain election.” Tex. Elec. Code §§

1.015(a), (b). The State’s insistence that the Court should read the two sections in tandem makes

clear what is constitutionally pernicious about the Residence Restriction: it prohibits a person from

registering to vote at their actual residence if they moved to such a domicile “for the purpose of

influencing the outcome of a certain election.” Id. The State identifies no statutory language

limiting the scope of the Residence Restriction to “impossible addresses.” There is none.

       The State’s insistence that the Residence Restriction does not regulate speech also finds no

support in the record. For one thing, the County Defendants—the parties responsible for

administering the Residence Restriction—confirmed Plaintiffs’ interpretation in their deposition



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testimony. E.g., Wise Tr. 92:22-93:3 (App. 190-91) (“establish residence” means “to inhabit a

location based on the definition of Section A” of Section 1.105); Scarpello Tr. 61:18-19 (App.

172) (term refers to “the plain language found under the definition of ‘residence’ in the code”);

see also Pls.’ MSJ at 17-18 (collecting testimony). 4 For another, the Secretary’s designee admitted

the Residence Restriction could have been drafted to reflect the meaning the State insists it carries

now. See Ingram Tr. 101:17-102:2 (App. 241-42). (“Q. Do you think the Texas legislature could

have drafted Subsection (b) to say, A person may not establish residence at a place that is not their

residence for the purpose of influencing the outcome of a certain election? A. They could have.”

(emphasis added)).

       The Residence Restriction plainly prohibits a person from establishing residence in Texas

for a particular reason: “for the purpose of influencing the outcome of a certain election.” Tex.

Elec. Code § 1.015(b). By its terms, the provision prohibits acts intended to influence the outcome

an election, which includes activities like voting, running for office, and donating to and

volunteering for political campaigns. See Pls.’ MSJ at 10-11 (collecting testimony). The Fifth

Circuit has recognized that these activities have sufficient “communicative elements” to be

protected by the First Amendment. See Voting for Am., Inc. v. Steen, 732 F.3d 382, 388 (5th Cir.

2013). In Steen, the court explained that “voter registration drives involve core protected speech”

including “‘urging’ citizens to register; ‘distributing’ voter registration forms; ‘helping’ voters to




4
  Even the two County Intervenor-Defendants who joined the State’s motion agreed that the
Residence Restriction can only be understood as regulating a person’s ability to establish residence
where they actually live. See Torres Tr. 44:22-45:1 (App. 225-226) (“establish residence” means
“that they reside in – at the residence”); Pendley Tr. 36:18-19 (App. 218) (“Establish residence
means your residence, where you live at[.]”).

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fill out their forms; and ‘asking’ for information to verify that registrations were processed

successfully.” Id. at 389-90. Other courts have found the same. 5

       Section 1.015(b) regulates expressive conduct in a more direct manner than in Steen, which

concerned the delivery of completed voter registration applications. See id. at 390 (explaining

statute regulated non-expressive conduct because it “follows the voter’s completion of the

application but is not itself ‘speech’” (emphasis in original)). Unlike the law in Steen, which did

not “restrict or regulate who can advocate pro-voter registration messages, the manner in which

they may do so, or any communicative conduct,” id. at 391, the Residence Restriction limits who

may vote based on their expression of a political message. Buckley v. Am. Const. Law Found., 525

U.S. 182, 207 (1999) (Thomas, J., concurring). And, as explained, the Residence Restriction

further impairs the expressive conduct of organizations like Voto Latino and LULAC, which are

now burdened by the restriction in how they advise people to register to vote, and how they conduct

voter registration activities in Texas. See supra 4-5; see also Pls.’ MSJ at 20, 31-32.

       The State’s contention that the Residence Restriction does not regulate protected speech is

accordingly meritless. And as discussed more fully in Plaintiffs’ motion for summary judgment,

SB 1111 imposes a content-based restriction on core political speech that fails to satisfy strict

scrutiny. See id. at 14-19.




5
  See, e.g., Am. Ass’n of People with Disabilities v. Herrera, 690 F. Supp. 2d 1183, 1215–16
(D.N.M. 2010) (“public endeavors to assist people with voter registration are intended to convey
a message that voting is important, that the Plaintiffs believe in civic participation, and that the
Plaintiffs are willing to expend the resources to broaden the electorate to include allegedly under-
served communities,” and thus is expressive conduct which implicates the First Amendment),
recons. on separate grounds, No. CIV 08-0702 JB/WDS, 2010 WL 3834049 (D.N.M. July 28,
2010); League of Women Voters of Fla. v. Cobb, 447 F. Supp. 2d 1314, 1334 (S.D. Fla. 2006)
(finding “the collection and submission of voter registration drives is intertwined with speech and
association” and is thus expressive conduct protected by the First Amendment).

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III.   SB 1111 unduly burdens the right to vote.

       The State’s motion does little to justify the undue burdens that SB 1111’s suppressive

provisions place upon Texas voters. See id. at 20-28 (setting out burden and lack of state interest);

see also State’s MSJ at 13-16 (setting out the state’s interests and alleged lack of burden). The

State’s motion acknowledges that Plaintiffs’ second claim challenges all three suppressive

provisions in SB 1. See State’s MSJ at 14 (“Plaintiffs have challenged in their second count, §§

1.015(b) and (f) . . . and § 15.051(a)”). Yet its own motion addresses only the third provision—the

PO Box Provision—and fails to dispute that the Residence Restriction and Temporary Relocation

Provision burden Texas voters. That omission is telling and undisputed evidence proves that those

provisions do burden Texas voters. The State has therefore plainly failed to present undisputed

material facts establishing that the suppressive provisions in SB 1111 are not unduly burdensome.

Accordingly, its motion for summary judgment on Count II of the complaint must be denied.

       A.      The Residence Restriction unduly burdens the right to vote.

       The Residence Restriction prohibits voters in Texas from establishing residence to engage

in constitutionally-protected activities like voting, running for office, and donating to and

volunteering for political campaigns. See supra 9-12; Pls.’ MSJ at 10-13. And it is drafted in such

a manner that no reasonable person subject to the provision can be expected to discern what

specific conduct is, or is not, prohibited. See Pls.’ MSJ at 13-20 (collecting testimony). Indeed,

county officials tasked with determining a registrants’ eligibility to vote under the Texas Election

Code could not clearly explain what the term “influencing the outcome of an election” means. Pls.’

MSJ at 15-17 (collecting testimony). Rather than clarify the matter, the Secretary’s office has

declined to issue guidance or definitions that might explain the Residence Restriction’s reach,

choosing instead to adopt an implausible reading of the provision that contradicts what county

officials believe the restriction to mean. Id. at 17-18. The law’s vagueness chills not only potential
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registrants in Texas who wish to engage in protected speech—it has already chilled Plaintiffs’

ability to communicate with, and advise, would-be voters. See Voto Latino Tr. 51:3-24 (App. 089);

see also id. at 70:3-9 (App. 095); LULAC Tr. 28:19-30:13 (App. 103-05); id. at 31:14-32:4 (App.

106-07).

        The State’s motion is silent as to these burdens imposed by the Residence Restriction.

Instead (in addressing Plaintiffs’ First Amendment claim) the State suggests that the Residence

Restriction is harmless and only regulates individuals seeking to fraudulently register to vote at

places they do not live. See State’s MSJ at 11-12. But as explained, the State’s implausible

interpretation is a feint to avoid having to defend the constitutional merits of the Texas Election

Code as written. See supra 9-11. The fact that the County Defendants—the authorities responsible

for reviewing voter registration applications—understand the Residence Restriction applies to a

person’s bona fide domicile establishes the severe burden this law places on actual would-be

voters. Id.

        The State’s failure to dispute that the Residence Restriction imposes a burden on Texas

voters is sufficient to deny its motion for summary judgment on Count II. But it likewise fails to

identify any state interest associated with that provision. The State’s motion suggests it has an

interest in “making sure that people vote where they live.” State’s MSJ at 14. But the law already

required that. See Tex. Elec. Code § 1.015(a); see also Ingram Tr. 101:17-102:4 (App. 241-42).

The Residence Restriction merely punishes politically-minded individuals who try to register to

vote where they do live. cf. Carrington v. Rash, 380 U.S. 89, 94 (1965) (finding unconstitutional

a Texas law that barred military voters from voting in Texas if they moved to Texas for purposes

of military service). For that same reason, the State’s proffer that it has an interest in “preventing

fraud and promoting uniformity” has no bearing on the Residence Restriction. See State’s MSJ at



                                                 14
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14. The absence of a sufficiently weighty interest advanced by the Residence Restriction is all the

more glaring because, as a severe restriction on the right to vote, the provision is subject to strict

scrutiny and must be narrowly tailored to advance a compelling state interest. See Burdick v.

Takushi, 503 U.S. 428, 434 (1992). The State’s motion falls well short of meeting this standard.

       B.      The Temporary Relocation Provision unduly burdens the right to vote.

       The State’s motion is silent as to the burden that the Temporary Relocation Provision

imposes on Texans who move away from their residence to a place they do not intend to remain

indefinitely, such as school or a short-term work assignment. These individuals cannot designate

their actual residence as their home because, while they are temporarily away from it, their home

is not the place they “inhabit[] . . . at the time of designation.” Tex. Elec. Code § 1.015(f). Nor can

they “intend[] to remain” at the bona fide residence they are temporarily away from. Id. But by the

same token, these voters cannot list their present, temporary address because Texas law already

bars registering where a person “has come for temporary purposes only and without the intention

of making that place [their] home.” Tex. Elec. Code § 1.015(d). Plaintiffs introduced unrebutted

expert testimony explaining why Texas’s college students in particular are likely to be burdened

when registering to vote, or barred from voting altogether, by these provisions. See Holbein Rep.

at 43 (App. 069). That expert finding was buttressed by testimony from numerous County

Defendants admitting that the provision complicates voter registration for college students. See

Pls.’ MSJ at 23-24 (collecting testimony). The burden imposed by the Temporary Relocation

Provision on these would-be voters is further exacerbated by the chill the law places upon groups,

like Plaintiffs, that seek to educate students about how they can register to vote. See Voto Latino

Tr. 26:8-12 (App. 086); id. at 52:2-7 (App. 090); id. at 79:9-12 (App. 097); LULAC Tr. 14:12-18

(App. 102); see also LULAC Tr. 28:19-30:13 (App. 103-05) (explaining the additional resources

LULAC must expend to help college-age students register). Once again, the State’s silence as to
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these burdens precludes any grant of summary judgment on its motion as to Count II. See State’s

MSJ at 15-16.

       To be sure, the State’s previously asserted interest in having voters identify where they live

would not justify the Temporary Relocation Provision either. See id. at 15. The law’s sweeping

restrictions preclude certain Texas voters from registering at any address, whether it be their actual

residence that they are temporarily away from, or the temporary residence they inhabit when they

try to register. Likewise, the State’s purported interest in “preventing fraud and promoting

uniformity,” id. at 14-15, cannot justify a law that leaves some qualified voters with no identifiable

residence that would meet the registration requirements. See id. at 10-11. In other words, what

little evidence of fraud in Texas elections that exists has nothing to do with the Temporary

Relocation Provision.

       C.       The PO Box Provision unduly burdens the right to vote.

       The State’s brief discussion of PO Box Provision does little to refute or provide

justification for the undue burden placed on voters. Its argument amounts to the bare assertion that

being required to “provide documentary proof” that a registrant’s address is actually a residence is

not burdensome. See id. at 15-16. But as the State concedes, Texas law already required that

applicants “register where [they] live.” Id. at 15 (noting the “same requirement . . . existed before

SB 1111”). Prior to SB 1111, a registrant in Texas could cure registering at non-residential address

by simply filling out a standard confirmation form with an actual residence address. Ingram Tr.

205:17-207:6 (App. 257-59). That option is no longer available to Texas voters, who instead must

now complete a separate voter confirmation form; supply documentary proof of residence (or

claim an exemption); and sign the form with a wet signature. Id. at 217:3-218:17 (App. 263-64).

       Nor is the burden of the documentary proof requirement justified by the State’s interest “in

making sure that people vote where they live.” State’s MSJ at 14. Here, the State’s rationale is
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undermined by the fact that Texas law already required voter registrars to send confirmation

notices to voters whose listed address did not appear to reflect their actual current residence, see

Tex. Elec. Code § 15.051(a), including voters whose registration addresses appeared to be non-

residences. See Ingram. Tr. 205:17-207:6 (App. 257-59). Even before SB 1111, voters were “not

allowed to . . . have a commercial post office box or [] similar” listed on their registrations and

would be provided a “notice of incomplete” if they sought to do so. Torres Tr. 80:4-12 (Suppl.

App. 002). As Lupe Torres, the registrar for Medina County explained, “that’s been [the law] a

while.” Torres Tr. 80:22-81:7 (Suppl. App. 002-03).

       The new law simply requires some, but not all, Texans to provide proof of their residence.

See SB 1111 §§ 2-5 (App. 001-05). A voter who entered their address incorrectly or who wishes

to change their address, for instance, need only submit a standard form. But if a registrant’s address

appears to be a “commercial post office box or similar location that does not correspond to a

residence,” SB 1111 § 2 (App. 001-002) (amending Tex. Elec. Code § 15.051(a)), they are now

sent a distinct confirmation notice form that requires that they present documentary proof of

residence or claim an exemption. Indeed, the Secretary of State’s designee admitted that he did not

“know why we can’t use [the new Form 17-4] as a change of address form,” and suggested that if

the voter is “not still claiming to live at the [commercial post office box or the like], then . . . we

should maybe use this as a change of address form . . .” Ingram Tr. at 221:4-224:2 (App. 265-68).

In other words, even the Secretary cannot explain the arbitrary distinction that requires only voters

with PO Boxes and non-residential addresses on file to submit proof of residence when updating

their address but allows all others to perform the same tasks without imposing an additional

evidentiary burden.




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IV.    SB 1111 violates the Twenty-Sixth Amendment.

       The State argues that SB 1111 does not violate the Twenty-Sixth Amendment because the

law has not made voting more difficult; that SB 1111 allows college students to register to vote

wherever they live; and that SB 1111 did not substantively change Texas’s voter registration laws.

See State’s MSJ at 16-17. The State is wrong in all respects.

       SB 1111’s Temporary Relocation Provision substantively changed Texas’s voter

registration laws to prohibit Texas voters from registering at addresses they no longer “inhabit” at

the time of registration, even if they are only temporarily away from that address and intend to

maintain it as their true residence. Simultaneously, Texas law forbids these individuals from

registering to vote at places where they intended to live only temporarily. The law thus creates a

catch-22—college students who no longer inhabit their family homes at the time they register, and

who also do not intend to remain indefinitely at temporary quarters in their college towns, have no

clear address with which they may register to vote. The Temporary Relocation Provision thus

operates as a denial or abridgment of the right to vote in violation of the Twenty-Sixth Amendment.

Because the Temporary Relocation Provision cannot survive strict scrutiny, the State is not entitled

to summary judgment. See Pls.’ MSJ at 28-31.

       Under the Twenty-Sixth Amendment, 6 a statute “denies” the right to vote if it results in a

person being “prohibited from voting,” and “abridges” the right to vote if it “makes voting more

difficult for that person than it was before the law was enacted or enforced.” Tex. Democratic Party

v. Abbott, 978 F.3d 168, 188, 191 (5th Cir. 2020) (“TDP II”). The Temporary Relocation Provision

prohibits college students and other young Texans who have temporarily relocated from


6
 The Twenty-Sixth Amendment provides that “[t]he right of citizens of the United States, who are
eighteen years of age or older, to vote shall not be denied or abridged by the United States or by
any State on account of age.” U.S. Const. amend. XXVI, § 1.

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registering to vote using a home that they do not actively “inhabit” when they attempt to register,

even if they consider that previous address to be their home. As Plaintiffs’ expert, Dr. John

Holbein, explains, “[i]n Texas the large majority of students living at dorms use . . . temporary

housing locations as their voter registration address.” Holbein Rep. at 39-40 (App. 065-66). Texas

law always prohibited these students from establishing residence where they attend school unless

they intended to remain there. SB 1111 now prohibits them from establishing residence at the

home they inhabited before leaving for school, foreclosing all opportunities for them to register

and vote.

       The Temporary Relocation Provision, thus, is subject to strict scrutiny and cannot survive. 7

The Attorney General argues that SB 1111 advances several interests, including ensuring that

people vote where they live, preventing fraud, promoting uniformity, and running efficient

elections. See State’s MSJ at 17. But the Temporary Relocation Provision furthers none of these

interests; for many young Texans, the terms of the Temporary Relocation Provision foreclose them

from voting anywhere. The State cannot advance an interest in preventing voter fraud by

prohibiting eligible young Texans from voting altogether. See Burdick, 504 U.S. at 434.

       Nor is the Temporary Relocation Provision narrowly tailored. Texas law elsewhere

prohibits voters from providing false residence information on a voter registration form, which

accomplishes the same objectives that the State purports to achieve through the Temporary

Relocation Provision—ensuring people vote where they live—without depriving young voters of




7
 The applicable level of scrutiny for Twenty-Sixth Amendment claims remains an open question
in the Fifth Circuit, TDP II, 978 F.3d. at 194, but other circuits have held that laws denying or
abridging the right to vote an account of age are subject to heightened judicial scrutiny, see, e.g.,
Luft v. Evers, 963 F.3d 665, 671 (7th Cir. 2020) (applying Anderson-Burdick framework); Walgren
v. Howes, 482 F.2d 95, 100-02 (1st Cir. 1973) (explaining that “compelling interest” standard
would apply where town denied or abridged right to vote).

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a place to register and vote with confidence that they are not breaking the law. See Tex. Elec. Code

§ 13.007. Further, by prohibiting young Texans from registering to vote at a place they may not

currently inhabit but that may well be their domicile—their parents’ home, for example—the

Temporary Relocation Provision criminalizes a wider range of conduct than necessary to prevent

voter fraud. It cannot withstand strict scrutiny and the State is not entitled to summary judgment

on Plaintiffs’ Twenty-Sixth Amendment claim.

                                         CONCLUSION

       For all the foregoing reasons, and the reasons in Plaintiffs’ motion for summary judgment,

the Court should deny Intervenor-Defendant Ken Paxton’s motion for summary judgment and

grant judgment as a matter of law to Plaintiffs on each Count in the complaint.

Dated: May 23, 2022                             Respectfully submitted,



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                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on May 23, 2022, and that all counsel of record were served by CM/ECF.



                                                            /s/ Uzoma N. Nkwonta
                                                            Uzoma N. Nkwonta




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